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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:15CR33
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
ALICIA MARTINEZ,                              )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”), and

the Defendant's filing entitled, “Objection to the Presentence Investigation Report” (Filing

No. 91). Upon review of the Filing No. 91, it states that,” . . .she [the Defendant] has no

objection to the first draft Presentence Investigation Report.” The government did not

object to the PSR. See Amended Order on Sentencing Schedule, ¶ 6. The Court advises

the parties that these Tentative Findings are issued with the understanding that, pursuant

to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.   The Clerk will terminate Defendant’s document filed as “Objection to the

Presentence Investigation Report” (Filing No. 91) which indicates that the Defendant has

no objections to the PSR;

       2.     The Court intends to adopt the PSR at the time of sentencing;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the
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submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 16th day of September, 2015.

                                          BY THE COURT:



                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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